             Case 18-20126-rlj11 Doc 36 Filed 04/27/18                                    Entered 04/27/18 12:09:52                       Page 1 of 1

                                                               United States Bankruptcy Court
                                                                      Northern District of Texas
 In re      Waggoner Cattle, LLC                                                                                      Case No.       18-20126
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Quint Waggoner                                                      Managing         100                                        100%
 2936 US Highway 385                                                 Member
 Dimmitt, TX 79027


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date April 27, 2018                                                         Signature /s/ Michael Quint Waggoner
                                                                                            Michael Quint Waggoner

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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